                    Case 19-11626-KG             Doc 44       Filed 07/22/19         Page 1 of 4



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                          )
In re:                                                                    )    Chapter 11
                                                                          )
PES HOLDINGS, LLC, et al.,1                                               )    Case No. 19-11626 (KG)
                                                                          )
                                     Debtors.                             )    (Joint Administration Requested)
                                                                          )

      AMENDED2 NOTICE OF AGENDA FOR HEARING ON FIRST DAY MOTIONS
     SCHEDULED FOR JULY 23, 2019, AT 2:30 P.M. (PREVAILING EASTERN TIME),
      BEFORE THE HONORABLE KEVIN GROSS BANKRUPTCY JUDGE, AT THE
     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,
     LOCATED AT 824 NORTH MARKET STREET, 6th FLOOR, COURTROOM NO. 3,
                      WILMINGTON, DELAWARE 198013

      This agenda sets forth items in the order they appear in the first day motions binders
                 delivered to the Court. The status of each is set forth below.

1.        Voluntary Chapter 11 Petitions:

                   A.        PES Holdings, LLC

                   B.        North Yard GP, LLC

                   C.        North Yard Logistics, L.P.

                   D.        PES Administrative Services, LLC

                   E.        PES Energy Inc.

                   F.        PES Intermediate, LLC

                   G.        PES Ultimate Holdings, LLC

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (5952); PES
      Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
      Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
      service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.
2
      Amended items are noted in bold.
3
      Any party who wishes to attend telephonically is required to make arrangements through CourtCall by
      telephone (866-582-6878) or by facsimile (866-533-2946).




DOCS_DE:224591.2 70753/001
                  Case 19-11626-KG            Doc 44     Filed 07/22/19     Page 2 of 4



                 H.          Philadelphia Energy Solutions Refining and Marketing LLC

2.      Declaration of Jeffrey S. Stein, Chief Restructuring Officer of PES Holdings, LLC,
        in Support of Chapter 11 Petitions and First Day Motions [Docket No. 32, filed July
        22, 2019].

        Status:              The Declaration will be relied upon as evidentiary support for the first day
                             matters listed below.

                             First Day Administrative and Procedural Motions

3.      Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of the
        Chapter 11 Cases and (II) Granting Related Relief [Docket No. 2, filed July 22, 2019].

        Status:              This matter is going forward.

4.      Debtors’ Application for Entry of an Order (I) Authorizing and Approving the
        Appointment of Omni Management Group, Inc. as Claims and Noticing Agent and
        (II) Granting Related Relief [Docket No. 3, filed July 22, 2019].

        Status:              This matter is going forward.

5.      Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to File a Consolidated
        List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each Debtor and
        (II) Granting Related Relief [Docket No. 4, filed July 22, 2019].

        Status:              This matter is going forward.

6.      Debtors’ Motion Debtors’ Motion for Entry of an Order (I) Extending Time to File
        Schedules of Assets and Liabilities, Schedules of Current Income and Expenditures,
        Schedules of Executory Contracts and Unexpired Leases and Statements of Financial
        Affairs and (III) Granting Related Relief [Docket No. 12, filed July 22, 2019]

        Status:              This matter is going forward.

                        First Day Motions Pertaining to Business Operations

7.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
        Certain Prepetition Claims of Critical Vendors and (II) Granting Related Relief [Docket
        No. 5, filed July 22, 2019].

        Related Document:

        A.       Declaration of Jeffrey S. Stein in Support of the Debtors’ Motion for Entry of
                 Interim and Final Orders (I) Authorizing the Debtors to Pay Certain Prepetition
                 Claims of Critical Vendors and (II) Granting Related Relief [Docket No. 6, filed
                 July 22, 2019].

        Status:              This matter is going forward with respect to an interim order.

                                                   2
DOCS_DE:224591.2 70753/001
                  Case 19-11626-KG            Doc 44     Filed 07/22/19     Page 3 of 4



8.      Debtors’ Motion for Entry of Order (I) Authorizing the Debtors to (A) Pay Prepetition
        Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue
        Employee Benefits Programs and (II) Granting Related Relief [Docket No. 7,
        filed July 22, 2019].

        Status:              This matter is going forward.

9.      Debtors’ Motion for Entry of Order (I) Authorizing the Debtors to (A) Continue to
        Operate Their Cash Management System, (B) Honor Certain Prepetition Obligations
        Related Thereto, (C) Maintain Existing Business Forms, and (D) Perform Intercompany
        Transactions and (II) Granting Related Relief [Docket No. 8, filed July 22, 2019].

        Status:              This matter is going forward.

10.     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment of
        Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief
        [Docket No. 9, filed July 22, 2019].

        Status:              This matter is going forward with respect to an interim order.

11.     Debtors’ Motion for Entry of Interim and Final Orders (I) Approving the Debtors’
        Proposed Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting
        Utility Companies from Altering, Refusing, or Discontinuing Services, (III) Approving
        the Debtors’ Proposed Procedures for Resolving Additional Assurance Requests, and
        (IV) Granting Related Relief [Docket No. 10, filed July 22, 2019].

        Status:              This matter is going forward with respect to an interim order.

12.     Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to (A) Continue
        Insurance Coverage Entered Into Prepetition and Satisfy Prepetition Obligations Related
        Thereto, (B) Renew, Amend, Supplement, Extend, or Purchase and Finance Insurance
        Policies, and (C) Continue and Renew Their Surety Bond Program and (II) Granting
        Related Relief [Docket No. 11, filed July 22, 2019].

        Status:              This matter is going forward.


                                 First Day Motion Pertaining to Financing

13.     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to
        (A) Obtain Post-Petition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b),
        364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), and 364(e) and (B) Utilize Cash Collateral
        Pursuant to 11 U.S.C. § 363, (II) Granting Adequate Protection to Prepetition
        Secured Parties Pursuant to 11 U.S.C. §§ 361, 362, 363, 364, and 507(b), and (III)
        Scheduling Final Hearing Pursuant to Bankruptcy Rules 4001(b) and (c) [Docket
        No. 37, filed July 22, 2019]

        Status:              This matter is going forward with respect to an interim order.


                                                   3
DOCS_DE:224591.2 70753/001
                  Case 19-11626-KG   Doc 44   Filed 07/22/19   Page 4 of 4




Dated: July 22, 2019             /s/ Laura Davis Jones
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DOCS_DE:224591.2 70753/001
